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                                                                                                        E-FILED
                                                                          Monday, 31 July, 2017 09:21:42 AM
                                                                              Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  SPRINGFIELD DIVISION


BRENDA L. DAMM,                                   )
                                                  )
                 Plaintiff,                       )
                                                  )
                                                  ) No. 3:16-cv-03305-RM-TSH
       vs.                                        )
                                                  ) Honorable Judge Richard Mills
                                                  )
WOODS & BATES.                                    ) Magistrate Judge Tom Schanzle-Haskins
                                                  )
                 Defendant,                       )

                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

respective counsel that the above-captioned action is dismissed, with prejudice against the defendant

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its own costs and

attorney fees.

Dated: July 31, 2017                                  Respectfully Submitted,

/s/ Amir R. Tahmassebi                                /s/ Daniel M. Spector
Amir R. Tahmassebi, ARDC#6287787                      Daniel M. Spector, ARDC#6310224
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                               CERTIFICATE OF SERVICE

        I, Daniel M. Spector, an attorney, certify that on July 31, 2017, I caused the foregoing
Agreed Stipulation of Dismissal with Prejudice to be served upon the Defendant, Woods &
Bates, via the Court’s electronic notification system, CM/ECF.



                                            /s/ Daniel M. Spector
                                            Daniel M. Spector, Esq. #6310224
                                            Counsel for Plaintiff
                                            Admitted in the Central District of Illinois
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